                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

United States of America,                )
                            Plaintiff,   )
                                         )
             v.                          )     No. 2:12-cr-04049-FJG-2
                                         )
Richard J. Kitchen,                      )
                            Defendant.   )


                        ACCEPTANCE OF PLEA OF GUILTY
                          AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. #122 filed on August 15, 2013), to which no objection has been

filed, the plea of guilty to Counts One and Three of the Superseding Indictment which

was filed on January 16, 2013, is now accepted. Defendant is adjudged guilty of such

offense(s). Sentencing will be set by subsequent order of the court.




                                                /s/ Fernando J. Gaitan, Jr.
                                               Fernando J. Gaitan, Jr.
                                               Chief United States District Judge

Dated: September 10, 2013
Kansas City, Missouri




       Case 2:12-cr-04049-BP        Document 127   Filed 09/10/13      Page 1 of 1
